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IN THE UNITED sTATEs DISTRICT coURT FILED
FoR THE s'ouTH`ERN DISTRICT oF INDIANA s MAR 262018
TERRE HAUTE'DIVISION us cu:RK's oFFlcE
18 DINWI DI _ lNd§le\rBus,mmANA
DEN:L D E, " > f ` XMS '
Petitioner, t 2 . ig-cv- QKB§Q

No.

 

JEFFREY E. KRUEGER, Warden,
'Respondent.

_ /
PETITION FOR WRIT OF HABEAS CORPUS
AND MEMORANDUM OF POINTS AND AUTHORITIES
' IN SUPPORT

COMES NOW petitioner, Dennis Dinwiddie, pursuant to 28 U.S.C.
§2241 who pray that this court issue a writ of habeas corpus and
order petitioner's forthwith and unconditional release therefrom
any further unconstitutional restraint of his liberty and states
as follows: l

I.
JURISDICTIGN

1. Pursuant to 28 U.S.C. § § 2241 (a), and (c)(3) the'
relevant portions hold: "(a) Writs of habeas corpus may be granted
by the...district courts...within their respective jurisdictions
...(c)The writ of habeas corpus shall not extend to a prisoner
unless-(3) He is in custody in violation of the Constitution or
laws or treaties of the United States." lg. (2016 Ed.).

Therefore, this court has jurisdiction to entertain the foregoing

petition.

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Case 2:18-cV-00149-.]|\/|S-I\/|.]D Document 2 Filedm§ Page 2 of 19 Page|D #: 12
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C U S T 0 D Y '

2. Petitioner, Dennis Dinwiddie, is in unconstitutional

restraint of his liberty pursuant to the Judgmeent and Commitment

lsigned by the Honorable Catherine D. Perry, United States Judge,

May 6, 2009, in United States v. Dennie Dinwiddie, USDC-E.D. Mo.
No. 1:06-CR-00134-CDP-DDN, imposing inter alia consecutivenlife
terms. 1
III.
STATEMENT or THE cASE

3. On March 20, 2007, a superseding indictment handed down
charged petitioner, as well as co-conspirators Messrs. Michael
Meador, Lawan S. James and Raul Cruz as follows: Count:l,
conspiracy to distribute and possess with intent to distribute in
excess of 50 kilograms of marijuana, 21 U.S.C. §§ 841 (a)(l), 841
(b)(l)(€) and 846; Count ll [Applying to petitioner and Messrs.
James and Meador] Interstate Travel or Transportation ln Aid of
Racketeering Enterprise, 18 U.S.C. § 1952 (a)(2), punishable
under 18 U.S.C. § 1952 (a)(3)(B); Count III [Applying to
petitioner] Possession of a Firearm In Furtherance Of A Drug
Trafficking Crime,Resulting In Murder, 18 U.S.C- § 924 (C)(1)(A),
and punishable under 18 U.S.C. § 924 (j)(l)-(Z); Count IV:[Applying
to petitioner] Felon ln Possession of a Firearm, 18 U.S.C. § 922
(g)(l), punishable pursuant to the Armed Career Criminal Act
provisions of 18 U.S.C. § 924 (e)(l); and Count V [Applying to

Lawan S. James]»Felon In'Possession of aFirearm,y 18 U-S-C- § 922

(s)(l)-

 

 

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4, A jury trial commenced February 9, 2009..0n February 12,
2005, the jury found petitioner of all counts therein which he was
charged.

5. On May 6, 2009, petitioner appeared before the Honorable
Catherine D. Perry, United States District Judge, whom imposed
the following sentences: As to count I, 360 months, Concurrent
life terms as to counts ll and IV, and a consecutive life term
as to count III. A timely notice of appeal was submitted.

6. On August 25, 2010, therein a published opinion, the United
States Court of Appeals for the Eighth Circuit in United States v.
Dennis Dinwiddie, 618 F.3d 821 (8th Cir. 2010), affirmed the
judgments of the District Court. A timely submitted petition for
writ of certiorari to the United States Supreme Court was submitted,
and denied without comment on February 28, 2011, in Dinwiddie v.
United States, 562 U.S. 1263 (2011).

7. A petition to vacate, set aside or correct sentence under
28 U.S.C. § 2255 was filed with the District Court in Dinwiddie
v. United States, USDC-E.D. Mo. No. 1:12-CV-OO33-CDP§ after an
evidentiary hearing was convened, the petition was denied on
September 23, 2014, a Certificate of Appealability did not issue;

.a subsequently submitted Certificate of Appealability application
was submitted to the United States Court of Appeals for the Eighth
Circuit and likewise denied.

8. Petitioner was represented both at trial and on direct appeal

by Mr. Micael J. Gorla, Esquire, and Ms. Jennifer Herdon, of St. Louisv

vand Florissant, Missouri, respectively.

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IV.
STATEMENT OF THE RELEVANT FACTS
9. Petitioner's Post-Conviction Counsel Procedurally Defaulted
His Substantive Issue Of Petitioner’s Right To Due Process Was
Violated When He Was Convicted Pursuant To Erroneous Jury Insnnmtions
Given As To His Possession Of A Firearm During A Drug Trafficking
Crime Resulting In Murder; and
10. The Erroneous Jury Instructions As Given As'To Petitioner's
18 U.S.C. § 924 (c)(l) Violation Denied Due Process And Had AZ
Substantial And Injurious Effect Or lnfluence In Determining The
Juny's Verdict; and
11. The Supreme Court's Issuance Of New Substantive Rules In

Johnson v. United States, 135 S.Ct. 2551 (2015) and Helch v. United
States, 136 S.Ct. 1257 (2016) And the Seventh Circuit's Holdings
ln United States v. Vivas-Ceja} 808 F.3d 719 (7th Cir. 2015), All
Invalidate Petitioner's Convictions And Sentences In Counts II, III
And IV Of The Superseding Indictment; and

.12. Petitioner Contends The New Substantive Rule Announced By The
Supreme Court in Martinez v. §y§n, 566 U.S. 1 (2012), As It Relates
To lssue l, infra, as well as Johnson v. United States, 135 S.Ct.
2551 (2015) and Welch v. United States, 136 S.Ct. 1257 (2016), As
They Relate To Issue III, infra{ are Retroactively Applicable To
Cases On Collateral Review And May Be Adjudicated On Their Merits
Under Habeas Corpus 28 U.S.C. § 2241 As They Meet 28 U.S.C. § 2255
(e)'s Savings Clause Provisions In Accordance With In re Davenport,
147 F.3d 605%(7th Cir. 1998); and…

13. The lssues Presented Herein lnfra Require The Court To Convene

An Evidentiary Hearing On Their Merits.

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V.
MEMORANDUM OF POINTS AND AUTHORITIES
, l.
PETITIONER'S POST-CONVICTIQN COUNSELv
PROCEDURALLY DEFAULTED`HIS SUBSTANTIVE
ISSUE OF PETITIONER'S RIGHT TO DUE
PROCESS WAS VIOLATED WHEN HE WAS
CONVICTED `PURSUANT TO ERRONEOUS
JURY INSTRUCTIONS AS TOv HIS USE OF

A FIREARM DURING A DRUG TRAFFICKING
CRIME RESULTING IN MURDER..

A. Summary 0f The §elevant'Facts:

'Petitioner therein the adjudication of his Petition To Vacate,
Set Aside, or Correct Sentence under 28 U.S.C. § 2255 was represented
by Mr. Jeffrey Brandt, Esquire, of the firm Robison & Brandt, of
Covington, Kentucky.

Counsel lraised the sole issue of petitioner's trial

counsel provided ineffective assistance when he failed to advise
petitioner of his right to testify in his own defense during his
trial. Because development of the record was required, an evidentiary
hearing was convened, the court credited petitioner's trial counsel's
version of the events surrounding the purported waiver, and denied
the petition.

Petitioner's trial counsel testified that while he had in
fact advised petifioner of his right to testify in his own behalf,
that he and petitioner had decided agaist doing so. As duly noted
herein issue Il, infra, of which those arguments and authorities

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are incorporated by reference as if rewritten herein. Petitioner s

VPost-Conviction Counsel provided ineffective assistance when he v

failed to raise this substantive issue therein his § 2255 petitiony

as it related to petitioner's 18 U.S.C. § 924 (c)(l)(A) charge

 

 

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therein Count 111 of the superseding indictment-that the offense

resultediin murder.

B. Petitioner's Post-Conviction Counsel Provided 1neffective
Assistance When He Failed To Present The Meritorious
Erroneous Jury 1nstruction lssue Therein The § 2255 Petition:

A convicted federal defendant's exclusive forum in which

to raise issues of ineffective assistance of counsel is under the

aegis of a Petition To Vacate, Set Aside or Correct Sentence under

28 U.S.C. § 2255. Massaro V. United States, 538 U.S. 500, 505 (2003);

'Although petitionerisspost-conviction raised an ineffective
assistance of trial counsel issue solely as to his counsel not
advising him of his right to testify during his trial. This was
incomplete as petitioner had a viable claim of ineffective trial
counsel failing to object to the erroneous jury instruction given
as to petitioner's § 924 (c)(l)(A) and related § 924 (j) offenses
as found therein count 111 of the Superseding indictment.

Generally, post-conviction claims that were procedurally
defaulted were deemed-waived, at the time petitioner's conviction
became final. Coleman v. Thompson, 501 U.S. 722, 752-753 (1991).
However, this changed as Coleman was modified in 2012 by the `new n
substantive rule announced by the Court in Martinez v. §yan, 566
U.s. 1 (2012). '

As explained therein issue 1V, infra, the new substantive rule
announced in Martinez, falls squarely within the ambit of the
Teague [v. La§e, 489 U;S. 288, 301, 310-314 (1989)] exception to

non-retroactivity to new rules having retroactive application to

convictions already final.

 

 

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The new substantiveirule announced in Martinez now holds that

where ineffective assistance of trial counsel claims are limited

to collateral review, a petitioner may establish "cause" for his
procedural default where he (1) will not be subject to a "procedural
default" that will not serve as a bar to collateral review where;
(2) his "initial-review collateral proceeding" where petitioner had
"no counsel or counsel in that proceeding was ineffective." ld. 566
U.S. at 17.

The Martinez Court recognized that an "initial-review<xdlateral
proceeding"for a prisoner to raise a claim of ineffective assistance
at trial, the collateral forum in many ways is the equivalent to a
prisoner's direct appeal as to the ineffective assistance claim. ld.
566 U.S. at 11.

Under § 2255's nomenclature, claims of ineffective assistance
of cousnel are presented in that fourm nearly exclusively in the
first instance, as it is necessary to develop the record, wherein
the District Court usually is required to take testimony, make
factual determinations and examine counsel's reasonable assistance
he is presumed to have rendered at trial and petitioner's actual

prejudice. Strickland v. Washington, 466 U.S. 668, 698 (1984). See

Also Massaro, 538 U.S. at 505-507.

FBecause ineffective assistance claims are limited to § 2255
proceedings. 1ncorporating Seetion 11, infra by reference as if
rewritten herein, petitioner's trial counsel's failure to object

to the jury instructions as given as to petitioneris 924 (c)(l)

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offenses charged therein count 111 of the superseding indictment.
Post-Conviction counsel's omission of this issue therein his

§ 2255 Petition as duly presented therein Section 11, infra of this`

memorandum, as the "underlying claim...is a substantive one, which

is to say that...the claim has some merit." ld. 566 U.S. at 9.
lTherefore, the ineffective assistance of petitioner's post-

conviction counsel is a claim that should be adjudicated on its

merits. l/.l

 

1]. Moreover, under the Strickland v. Washington, 466 U.S. 668, 687-688, 694 (1984),
analysis petitioner's post-conviction counsel's performance was deficient and fell
below an objective standard of reasonablenessj and there is a reasonable probability
that exists had counsel raised the issue presented therein Section 11, infra of this
memorandum the outcome of the § 2255 proceedings would have been different.

 

 

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11.

THE ERRONEOUS JURY 1NSTRUCTIONS GIVEN AS
TO PETITIONER'S 18 U.S.C. § 924 (c) AND
(j) OFFENSES DENIED PETITIONER RIGHT TO‘
DUE PROCESS AND HAD SUBSTANTIAL AND
INJURIOUS EFFECT OR INFLUENCE 1NIHHIBM1NBM;
THE JURY{S VERDICT.

A; Summary Of The Relevant Facts:

Per;Exhibit No. 1, attached herewitht Jury
1nstruction No. 24, as it relates to Count 111 of the Superseding
Indictment which charged petitioner with: Possession of a Firearm
1n Furtherance Of A Drug Trafficking Crime Resulting 1n Murder,
in violation of 18 U.S.C. §§ 924 (c)(l)(A) and (j), were deficient
and alleviated the Government's burden of proof that the purported
~~murder was in fact in relation to a drug trafficking crime as given.

Petitioner's counsel, as required by Fed. R. Crim. P. 30,
failed to object to the erroneous instruction. On its face the
relevant portion of the instruction reads: "[A]ny perSOU WhO,---
in furtherance of any...crime of violence for which the person
may be prosecuted in a court of the United States,...possesses a
firearm, shall...ld. Exhibit No.l.

The instruction as given did not require te jury to find,
beyond a reasonable doubt, that petitioner committed the murder
at issue therein furtherance of a drug trafficking crime, as so

charged therein Count 111 of the indictment under 18 U.S.C. §§ 924

(C)(l)(A) and (j)-

 

 

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B. The Erroneous Jury 1nstructions Had A Substantial 1njurious
Effect Or Influence In Determining The Jury's Verdict;

Under the system of American Jurisprudence, the jury is
instructed by the Court, as they relate to the allegations brought
by the Government therein its indictment, in this case Count 111
of the superseding indictment wherein the Government alleged that
the homocide at issue, occurred therein furtherance of a drug
trafficking crime, and Vrequired the jury to find all the elements
of the charged offense beyond a reasonable doubt." Musacchio v.
United States, 136 S.Ct. 709, 716 (2016).

Because petitionerfs counsel did not object to the instruction
as given pursuant to Fed. R. Crim. P. 30, the erroneous instruction
is subject to review under the plain error standard of review as
provided therein Fed. R. Crim. P. 52 (b). Johnson v. United States,
520 U.S. 461, 465-466 (1997).

The charges made therein Count 111, that the murder at issue
was committed in furtherance of a drug trafficking crime, in
violation of 18 U.S.C. §§ 924 (c)(l)(A) and (j), the commensurate
jury instruction to satisfy the Fifth Amendmentjs Due Process¢
Clause required the Government to prove beyond a reasonable
doubt each and every element of the crime therein which petitioner
is charged therewith. 1n re Winship, 397 U.S. 358, 364 (1970).

Here, the omission from the jury instructions a wholly
different theory of liability therein which the murder was to have
been committed, pursuant to a "crime of violence" as stated in
1nstruction No. 24, which would leave the jury to believe the fact
a homocide occurred satisfies the "crime of violence" for a finding

of guilt under §§ 924 (c)(l)(A) and (j) as opposed to having been

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in furtherance of a drug trafficking crime as stated therein Count
111 of the superseding indictment. This omission is substantial
requiring>reversal:of petitioner's convictions; United States v.
Gaudin, 515 U.S. 506, 522-523 (1995);

The Court's omission to jury essential elements oflmwertdity
deprived petitioner os hight to be found guilty of each and every
element of the crime charged. United States v. Gaudin, §up£a ld.
By asserting that the jury merely may find petitioner guilty upon
a finding a "crime of violence" had been committed curtailed the
fact-finders freedom to assess independently whether the homocide
was in fact, in furtherance of a drug trafficking crime, or some
other reason(s) wherein the Court would lack subject matter
jursidiction to have prosecuted. This erroneous instruction also
relieved the Government of its burden of proof. United States V.
.ojsrien, 130 s.ct. 2169,-2174 (2010).

z Jurorsiare presumed to have followed the instructions as they
given to them. Richardson v. Marsh, 481 U.S. 200, 206 (1987). §§§

Also Francis v. Franklin, 471 U.S. 307, 325, n. 9 (1985).

 

Even evaluating this particular jury instruction in the context
of the entire charge, the omission was prejudicial. §£yan v. United
States, 524 U.S. 184, 199 (1998). The erroneous instructions as
given here, had a substantial injurious effect or influence in
determining the jury{s verdict. Brecht v. Abrahamson, 507 U.S.

619, 623, 637 (1993). n
Thus, petitionerfs convictions under both 18 U.S.C- §§ 924 (C)
(1)(A) and (j) as charged therein count 111 of the superseding

indictment must be vacated.

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III.
THE SUPREME COURT'S ISSUANCE OF THE NEW'
SUBSTANTIVE RULES 1N JOHNSON V. UNITED
~STATES, 135 S.Ct. 2551 (2015) AND WELCH
Vi UNITED sTATES, 136 s.ct. 1257 (26157
AND THE SEVENTH cIRcUITfS HOLDING IN
UNITED sTATES V;“viVA-cEJA, 808 F.3d 719\
`(7th'Cir. 2015) INVALIDATE'PETITIONERiS
CONVICTIONS AS'TO COUNTS 11, 111 AND 1V
OF THE SUPERSEDING INDICTMENT;
Count 11, of the superseding indictment charged petitioner
traveled in interstate commerce from Clarksville, Tennessee
to the Counties of New Madrid and Mississippi, in the State of
Missouri, to further unlawful activity in violation of the laws
of the United States; to wit: conspiracy to distribute and
possess with intent to distribute marijuana, and thereafter did
perform the aforesaid murder of Sergio Burgos Gonzales, resulting
in his death, in violation of 18 U.S.C. §§ 1952 (a)(Z) and 2'
The language used therein count 11, charging § 1952 (37(2) a
Travel Act violation, did in fact incorporate the language and
unlawful acts and objectives charged therein Count 111, in
violation of 18 U.S;C. §§ 924 (c)(l)(A) and (j), as well as
petitioner:s status of being a felon in possession of a firearm,
as well as his being subject to enhanced penalties for that
violation under the Armed Career Criminal Act (ACCA) as charged
therein count 1V, 18 U.S.C. §§ 922 (g)(l) and 924 (e)(l) as
respectfully aforementioned. See Exhibit No. 2.
Succinctly summarized, Count 11 charged petitioner under the
Travel Act having traveled in interstate commerce to kill Sergio

,Bugos,Gonzales therein furtherance of his marijuana conspiracy

[charged therein count 1 of the superseding indictment], thereby

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save for having traveled in interstate commerce as charged therein
Countf11, incorporates the same objectives set forth therein Count
111, of the superseding indictment, that is having caused the murder
of Sergio Bugos Gonzales in violation of 18 U.S.C. §§ 924 (c)(l)(A)
and (j). The requisite possession of a firearm pursuant to the
[convicted] felon status of petitioner, as charged therein Count 1V,
was likewise subject to an enhanced sentencing scheme pursuant to
the AccA, under 18 U.s.c. § 922 (g)(1) and 18 U.s.c. § 924 (e)
respectively. -"l. H

After'petitioneris conviction became final, the Supreme
Court issued its new substantive rule of statutory interpretation
in Johnson v. United States, 135 S.Ct. 2551 (2015), whereby the
Court invalidated as "unconstitutionally vague" the residual clause
of § 924 (e)(Z)(B)(ii). ld. 135 S.Ct. at 2257.

The Courtis decision in Johnson was later determined to be
_retroactively applicable to cases on collateral review in E§l§h v.
United States, 136 S.Ct. 1257 (2016). The "void for vagueness"
doctrine requires that a penal_statute define the criminal offense
with sufficient definitenes that ordinary people can understand
what conduct is prohibited.

lt is a fundamental tenant of due process that "[n]o one may
be required at peril of life, liberty or property to speculate
as to the meaning of penal statutes." United States¢dv:'Batchelder,
442 U.S. 114, 123 (1976)(citation omitted). This principle applies
to both vague criminal statutes and vague sentencing provisions. §d.
"Petitioner{s convictions under Count 1V, felon in possession7
of a firearm resulted in a life sentence under the ACCA enhancement

incorporated therein that count.

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The erroneous jury instruction given as to count 111, as duly
noted therein Section 11, of this memorandum supra, and is also
incorporated by reference as if rewritten herein, as given they
failed to define a "crime of violence" within the meaning of the
ACCA sentencing enhancement charged therein count 1V, as
aforementioned, and therefore the ACCA's residual clause under
§ 924 (e)(2)(B)(ii) in accordance with Udhnson; 135 S.Ct. at
2557 requires.petitioner's enhanced ACCA sentence be ordered
Vacated. 4

Further the Court in Johnson held that the residual clause

is "unconstitutionally vague" in all its applications. ld. 135
S.Ct. at 2561. Petitioner{s convictions under Counts 11 and 111,
are "too wideeranging" and "indeterminate.* As a result, petUjoans
convictions under these counts "both denies fair notice to defendants
and invites arbitrary enforcement by judges." 1§;“135 S.Ct. at 2557-
2259.

Similarly, the Seventh Circuit's application of Johnson in
determining that 18 U.S.C. § 16 (b)fs definition of a "crime of
violence" to be "materially indistinguishable from the ACCAis

' and "it too is unconstitutionally vague

residual clause.'
according to the reasonssof Johnson." See United States v. Viva-
§§ia, 808 F.3d 7195 720-723 (7th Cir. 2015).

Finally, See United States v. Lattanaphom, 159 F. Supp.3d
1157, 1162-1164 (E.D. Cal. 2016)(App1ying Johnson in vacating
int§£ alia defendants convictions under 18 U.S.C. § 1951 (a),

18 U.s.c. §§ 924 (c)(l)(A) and (j) (1)-(2)).

Here, petitionerls convictions as to counts 11, 111 and 1V in

light of Johnson must be ordered vacated.

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1V;
THE SUPREME COURT"S ISSUANCE OF ITS
DECISIONS 1N MARTINEZ V RYAN, 566
U S. 1 (2012) AS IT RELATES __TO 1SSUE
1, SUPRA AND JOHNSON V. UNTHI)SDHES,
135 S. Ct. 2551 120115) AS IT RELATES

TO ISSUE 11, SUPRA APPLY REHKMCTDElY
TO THESE ISSUES AS PRESENTED

As to petitioner' s arguments therein Section 1, supra, wherein
petitioner relies upon the new substantive rule announced in
Martinez v. Byan, 566 U.S. 1 (2012), which modified the Court's
prior holdings in coleman v. Thompson, 501 U.s. 722 (1991), falls

 

squarely within the panoply of the Teague v. Lan§, 489 U;S. 288,
301, 311-314 (1989), exception to non-retroactivity.

The Courtfs decision in Martinez is a new substantive rule
which applies to cases on collateral review. Schriro v. Summerlin,
542 UiSz 348, 351-353 (2004). Thus, Martinez as cited therein
Section 1 of this memorandum is retroactively applicable and is
properly before the court for its consideration.

The holdings in:Johnson v. United States, 135 S. Ct. 2551 (2015),
has been further found by the Supreme Court in Welch v. United
States, 136 S.Ct. 1257, 1263- 1268 (2016) to be retroactively quicable
to cases on collateral review. Thus, Johnson applies to Section 11,
supra of this memorandum.

The holdings in both Johnson and Martinez meet the criteria

 

of Section 2255 (e)is YSavings Clause" which gives petitioner "a

reasonable opportunity to obtain a reliable judicial determination
of the fundamental legality of his convictions and sentences." 12
"re Davenport, 147 F.3d 6053 608-611 (7th Cir. 1998).
As to each of the issues presented therein Sections 1, 11, 111

and 1V, supra of this memorandum petitioner "had no reasonable

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opportunity to obtain earlier judicial correction of a fumkmental
defect in his conviction or sentence because the law changed [as

to the Johnson and Martinez issues presented herein] after his
first § 2255 motion,V the Savings Clause of Section 2255 (e) is
triggered and application of Section 2241 is available." ld. 147

F.3d at 611.

Therefore; these issues are properly before the Court and may

be adjudicated on their merits.

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V.
PE11T10NER, HAVING PRESENTED A PRIMA
FACIE CASE FOR HABEAS CORPUS' RELIEF
SHOULD BE GRANTED AN EVIDENTIARY
HEARING AT THIS TIME.
Petitioner incorporates Sections 1, 11, 111, and 1V, Supra
of this memorandum by reference as if rewritten herein.

Traditionally, claims of ineffective assistance of counsel
present mixed questions of law and facts that require judicial
-inquiry and determinations as to counsel's deficient performance
and petitioner's prejudice. Strickland vi Washington, 466 U.S.
668, 698 (1984§.' `

Moreover, the facts presented herein supra, as to each of
these issues are the sort that require inquiry of facts, also
determinations as to applicable law relevant to the courtis
factual findings and the taking of testimony being necessary
an evidentiary hearing is appropriate. Webster v. Daniels, 784
F.3d 1123, 1142, n.10 (7th Cir. 2015).

Therefore, an evidentiary hearing Should be convened at the
Courtis earliest convenience on the merits of these issues as
presented herein. l

WHEREFORE, Petitioner pray that this courts

(i) issue a writ of habeas corpus directing that
respondamzforthwith and immediatly and unconditionally release
petitioner therefrom any further unconstitutional restraint of
liberty; or

(ii) that Respondent be required to produce petitioner
forthwith, and be then and there required to show cause as to why

the relief requested by petitioner should not be granted; and

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(iii) appdint counsel to represent petitioner henceforth

throughout these proceedings.

DATED= Thisf§a'y of DLBZCQ , 2018.

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\ "

BY

 

Dennis D nwi die

Fed. Reg. No. 07504-033
United States Penitentiary
Terre Haute

P.O. Box 33

Terre Haute, 1ndiana 47808

V1.
DECLAR'ATION' -,

1, Dennis Dinwiddie, on:thisj§%ay of é;egc}i , 2018,
in accordance with the provisions of 28 U.S.C. § 1746 hereby
declare and affirm under;penalty of perjury that the statements
and representationstmade herein are true and correct to the best

of my knowledge and belief.

BY AD- d§¢“nilt¢/
Dennis Dinwiddie
Fed. Reg. No. 07504-033
United States Penitentiary
Terre Haute
P.O. Box 33
Terre Haute, 1ndiana 47808

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CERTIFICATE OF SERVICE
1, Dennis Dinwiddie, on fhisj$£day of N , 2018,
hereby certify that a copy of the foregoing pleading, attached
Exhibits and accompanying Habeas Corpus Form were all sent by first
class mail postage prepaid to: Office of the United States Attorney
for the Sduthern District of 1ndiana, at: 10 West Market Street,

Suite 2100, 1ndianapolis, 1ndiana 46204.

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BY

 

Dennis Dihwiddie

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